Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.47 Page 1of 48

UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

SAWARIMEDIA LLC, DEBORAH PARKER,
JUDY KELLOGG, and PAUL ELY,

Plaintiffs, Civil Action No.

v.

GRETCHEN NHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan _
Bureau Of Elections, in their official
capacities,

Hon.

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Defendants.

PLAINTIFFS’ MOTION FOR TEMPORARY
RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION

Pursudnt to Fed. R. Civ. P. 65(a), Plaintiffs SaworiMedia LLC, Deborah Parker,
Judy Kellogg, and Paul Ely (collectively, “Plaintiffs’”), move for a temporary
restraining order and/or preliminary injunction against Defendants Gretchen whitmer,
Jocelyn Benson, and Jonathan Brater (collectively, “Defendants”), ordering them to
refrain from enforcing the signature requirements and filing deadline prescribed in
M.C.L. § 168.471.

In support of their motion, Plaintiffs submit the following Brief in Support
and their Declarations (Exhibit A), confirming that the Plaintiffs are likely to
succeed on the merits with respect to the unconstitutionality of M.C.L. § 168.471 as

- -€@pphlied, considering: the extraordinary measures taken by «state and federal

governments to fight the coronavirus pandemic, including Governor Whitmer’s

Executive Order 2020-21, which makes it a misdemeanor and/or civil infraction for
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.48 Page 2 of 48

Michigan residents to leave their.homes for non-essential purposes.

Absent the issuance of a temporary restraining order, the Plaintiffs will incur
irreparable injury because the ballot initiative they have sponsored and chosen to
support, will not appear on the November 3, general election ballot, and the voters
across Michigan will be deprived of a meaningful opportunity to vote for it. The
balance of equities tips in favor of the Plaintiffs because Defendants’ enforcement
of the signature requirements and filing deadline prescribed by statute is not, in
light of the current pandemic, narrowly tailored to meet any compelling or
legitimate State interest. Moreover, the inclusion of the Plaintiffs’ initiative on
the ballot will serve the public interest by allowing the Plaintiffs and those who
wish to vote for the initiative, the freedon to express their First Amendment
rights.

_ Local Rule 7.1(a)(1) requires Plaintiffs to ascertain whether this motion will
be opposed. Because the Plaintiffs are acting In pro per, and because this motion
was filed shortly after the Plaintiffs filed their Complaint, no attorney for
Defendants has entered an appearance. Nevertheless, the Plaintiffs have sought
concurrence in the relief sought in this motion by attempting the following contact
on or about May 4, 2020 between the hours of 9 AM and 10 AM with Defendant, Gretchen
Whitmer at (517) 373-4000, Jocelyn Benson at (517) 335-2724 and Jonathan Brater at
(517) 241-2747. Messages were left for each of the Defendants, but as of the filing
of this motion, no response was received.

LOCAL RULE CERTIFICATION: I, Amani Saqwari, of SawariMedia, certify that this
document complies with Local Rule 5.1(a), including: double spaced; at least one-
inch margins; consecutive page numbering; and type size of all text and footnotes
that is no smaller than 14 point font. I also certify that it is the appropriate
length. Local Rule 7.1(d)(3).
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.49 Page 3 of 48

Respectfully Submitted,

SAWARIMEDIA LLE~/
By: _/

Amani Sawari

Plaintiff, In pro per

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Dated: May 4, 2020

Deborah Parker fhe |. Ely - 4
n pro per

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CERTIFICATE OF SERVICE

THE UNDERSIGNED certifies that on the 4th day of May, 2020, the foregoing paper
was filed with the Clerk of the Court by placing the same in an envelope with enough
pre-paid first class postage to be delivered to Clerk of the Court, United States
District Court, Eastern District of Michigan, 231 W. Lafayette Blvd., Detroit, MI
48202, and by placing that envelope in a US postal service collection box in

Detroint, Michigan.
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Vv
Amani Sawari
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.50 Page 4 of 48

UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

SAWARIMEDIA LLC, DEBORAH PARKER,
JUDY KELLOGG, and PAUL ELY,

Plaintiffs, Civil Action No,

Vv.

GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan |
Bureau of Elections, in their official
capacities,

Hon.

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Defendants.

PLAINTIFFS’ BRIEF IN SUPPORT OF MOTION FOR TEMPORARY
RESTRAINING ORDER AND/OR PRELIMINARY INJUNCTION
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.51 Page 5 of 48

STATEMENT OF ISSUES PRESENTED

TABLE OF AUTHORITIES

Il, STATEMENT OF FACTS
III. LEGAL STANDARD .

IV. ARGUMENT

TABLE OF CONTENTS
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.52 Page 6 of 48
STATEMENT OF ISSUES PRESENTED

Whether Plaintiffs are likely to succeed on the merits.

qd. Whether M.C.L. § 168.471 is unconstitutional as applied to
sawariMedia LLC as a sponsor of a statewide ballot initiative
petition in light of the unprecedented actions taken in response
to the Covid-19 global pandemic, including Governor Whitmer’s
Executive Order making it a criminal and/or civil violation for
people to leave their home unless they qualify as an essential
worker.

b. Whether M.C.L. § 168.471 is unconstitutional as applied to the
Plaintiffs as qualified registered voters in light of the
unprecedented actions taken in response to the Covid-19 global
pandemic, including Governor Whitmer’s Executive Order making it a
criminal and/or civil violation for people to leave their homes
unless they qualify as an essential worker.

c. Whether the Defendants’ refusal to apply this Court's previous
Order in Esshaki v. Whitmer et al., to the Plaintiffs in this
case, is unequal protection under the law, and thereby a violation
of the Plaintiffs constitutional right.

Whether the Plaintiffs are likely to suffer irreparable harm in in the
absence of this Court’s issuance of a temporary restraining order
prohibiting Defendants from enforcing M.C.L. § 168.471 or other
alternative relief this Court deems necessary.

Whether the balance of equities tips in favor of the Plaintiffs.

whether a temporary restraining order is in the public interest.

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.53 Page 7 of 48

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Blackwell, 467 F.3d 99, 1009 (Sth Cir. 2006) ooo eee eee cece cn enes

Shelby Cty. Advocates for Valid Elections v. Hargett, 348 F.Supp.3d 764, 769

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Elrod v. Burns, 427 U.S. 347, 373-74 (1976)

Libertarian Party of Ohio v. Blackwell, 462 F.3d 579, 593 (6th Cir. 2006)
{internal citations omitted)

99, S. Ct. 983, 990 (1979)

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Illinois State B. of Elections v. Socialist Workers Party, 440 U.F. 173, 184,

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.54 Page 8 of 48

BRIEF_IN SUPPORT
Plaintiffs SawariMedia LLC, Deborah Parker, Judy Kellogg, and Paul Ely
(collectively “Plaintiffs”), respectfully submit this brief in support of their
motion for temporary restraining order and/or preliminary injunction.

I. STATEMENT OF FACTS
. SawariMedia LLC’s Campaign

SowariMedia LLC (”SaworiMedia”) is a legally formed corporation that was
founded by Amani Sawari. SawariMedia is an organization comprised of like-minded
individuals who have come together for the advancement of a political issue that
they believe the Michigan electors should have a chance to vote on in Novenber,
2020. SawariMedia has been -diligently campaigning since the summer of 2019.
SawariMedia has spent thousands of dollars in its attempt to educate the electors on
the political issue that was the focus of the ballot initiative filed with the
secretary of State on January 16, 2020. SawariMedia has created a website entirely
devoted to the initiative, has moderated several town-hall meetings focussed
entirely on the initiative, one of which was comprised of two Michigan legislators
who endorsed the initiative. SawariMedia has also hosted several training seminars
for the individuals all across the state who were circulating the petition to
collect the required number of signatures to secure the initiatives place on the
November ballot. SawariMedia has also purchased more than thirty-four thousand
(34,000) copies of the initiative petition. The support for the initiative has been
overwhelming.

Pursuant to Michigan election law, to appear on the official general ballot,
SawariMedia is required to file with the Michigan Secretary of State’s office by May
2/7, 2020, at least three hundred thousand and forty-seven signatures of qualified
and registered electors residing in the state of Michigan. M.C.L. § 168.471.
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.55 Page 9 of 48

SawariMedia and its campaign tean implemented a plan to collect the required
number of signatures early on in the campaign. This plan included “pop-up” and
“pick-up and drop-off” locations all across the state, where qualified, and
registered electors could visit to sign the petition, as well as pick up copies of
the petition to circulate amongst their own networks. SawariMedia, its staff, and
its supporters have been working diligently, and have already collected
approximately two-hundred fifteen thousand (215,000) valid signatures. Collecting
signatures is a time-consuming process, which requires close contact with electors

who reside in the state of Michigan.

Government_response to Covid-19

On or around March 15, 2020, President Trump rolled out his “15 days top slow
the spread” initiative (the “Initiative”’). This Initiative asked people to practice
social distancing and to take other measures to prevent the spread of the novel
SARS-CoV-2 virus (“Covid-19"). On March 29, President Trump extended this initiative
to at least April 30, 2020.

To comply with this Initiative and to protect Michigan’s citizens and campaign
staff, SawariMedia and its staff postponed many of its efforts to collect
signatures. This included several planned and well-organized town-halls and
Signature collecting events, to include those scheduled to occur at the University
Of Michigan, Ann Arbor.

On March 10, 2020, in response to the unprecedented Covid-19 pandemic, which
has disrupted nearly every aspect of American life, Governor Whitmer issued
executive Order 2020-4, declaring a state of emergency across the state of Michigan.
Approximately two weeks later, on March 23, 2020, Governor Whitmer issued Executive
Order 2020-21 (the “Stay-home Order” or the “Order”) (Exhibit B) The Order went into
effect on March 24, 2020 and was recently extended until at least May 15, 2020. The
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.56 Page 10 of 48

gravity of the situation and the epidemiology experts strongly indicate that even if
the Order is not extended further, the social distancing recommendation will most
likely be extended long past the May 27 Deadline.

Whitmer’s Stay-home Order is to be construed broadly. That Order mokes it a
criminal and/or civil infraction for a person to leave his or her home unless that
person is a worker “necessary to sustain or protect life or to conduct minimum basic
operations” (“Essential Worker”). (Exhibit B). The Stay-home Order further requires
that Essential Workers who leave their homes must maintain social distancing
standards by remaining at least six feet away from others. Neither SawariMedia, as
the sponsor of the ballot initiative, or SawsariMedia’s campaign staff fall within

the exception.

Michigan Secretary of State refuses to extend the deadline

On or around March 24, 2020, the Michigan Secretary of State informed
SawariMedia that there would be no changes to the dealine, or the number of
signatures required, to have the initiative placed on the November ballot.

On or around April 15, 2020, after several more calls to the Secretary of
State’s office to inquire about accommodations due to the extraordinary
circumstances related to the pandemic and Stay-home Order, a SawarlMedia staff
member received an email from the Bureau of Elections that stated "As of now nothing
has changed. Updates will be posted on our website at www.Michigan.gov/Elections.”
The email was sent fron elections@michigan.gov. As of the filing of this motion, no
changes to the existing rules had been published. The only changes posted to the
website were posted on April 21, 2020, and relate ONLY to candidates who were
circulating petitions in an attempt to qualify for the August primary ballot. Those
changes, which included an extension of the deadline, the use of electronic

Signatures, and a reduction in the number of required signatures, were the direct
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.57 Page 11 of 48

result of this Court’s ruling in Esshaki v. Whitmer, et al. See 2:20-cv-10851-TGB-
EAS. .

Defendants’ enforcement of the Deadline for ballot initiative petitions is
inconsistent with not only this Court’s decision in Esshaki v. Whitmer, Id., but
with other actions the Secretary of State has taken during these unprecedented
times. This includes the closing of the Secretary of State offices, which, due to
their closures being attached to the Stay-home Order, are not expected to open
before May 15, 2020, at the earliest. (Exhibit C) Additionally, the Secretary of
State has indicated that it will conduct local elections ‘in May through mail
ballots, and not in person. Similarly, on March 25, 2020, recognizing the severity
of this pandemic, Governor Whitmer issued Executive Order 2020-22, extending the
canvassing deadline of the state’s primary election on April 24, 2020. And on March
29, 2020, Governor Whitmer issued Executive Order 2020-30, waiving many healthcare
related regulations, including liability for health care workers.

These extraordinary measures taken by state officials at the highest level of
government underscore the challenges we face as a state and nation during this
pandemic. Under these unprecedented circumstances, there is absolutely no compel Ling
or legitimate state interest to enforce the Filing Deadline at issue here. Most
certainly considering this Court’s April 20, 2020, Order.

The enforcement of the Filing Deadline effectively prevents SawariMedia, and
the supporters of the initiative, through no fault of their own, from getting the
initiative on the ballot, and allowing those sane individuals to vote on an issue
they deem worthy of their vote. Over the last several months, SawariMedia has
expended countless hours and other resources campaigning. The enforcement of the
Deadline severely injures each of the Plaintiffs, as well as the thousands of
supporters across this state, and continues to impose severe burdens on SawariMedia

because if it is enforced, they will not be able to get their initiative on the
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.58 Page 12 of 48

ballot.
Although SawariMedia has tried to adapt to these burdensome hurdles by mailing

copies of the petition to supports who wish to sign it (Exhibit D), it has become
cost prohibitive, and the US Postal Service is running several weeks behind in the

processing of mail across Michigan.

II, LEGAL STANDARD

Rule 65 of the Federal Rules of Civil Procedure govern motions for temporary
restraining orders ("TRO”) and preliminary injunctions. The court considers several
factors to determine whether to issue a TRO. Those facts are ”{1) whether the movant
has a strong likelihood of success on the merits, (2) whether the movant would
suffer irreparable injury absent a stay, (3) whether granting the stay would cause
substantial harm to others, and (4) whether the public interest would be served by
granting the stay.” Ne. Ohio Coal. for Homeless &% Serv. Employees Int’1 Union, Local
1199 v. Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006). The factors “are not
prerequisites that must be met, but are interrelated considerations that must be
balanced together.” Shelby Cty. Advocates for Valid Elections v. Hargett, 348 F.
Supp. 3d 764, 769 (W.D. Tenn. 2018) (internal citations omitted). Importantly, “in
First Amendment cases, the crucial inquiry is usually whether the plaintiff has
demonstrated a likelihood of success on the merits [since] the issues of the public
interest and harm to the respective parties largely depend on the constitutionality
of the state action.” Graveline v. Johnson, 336 F. Supp. 3d 801, 807 (E.D. Mich.
2018) (internal citations and quotes omitted).

III, ARGUMENT
The Plaintiffs bring their motion for a temporary restraining order and/or a

preliminary injunction pursuant to Federal Rule of Civil Procedure 65, Rule 65
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.59 Page 13 of 48

provides that “the court may issue a temporary restraining order without written or

oral notice to the adverse party.”

A. The Plaintiffs are likely to succeed on the merits.

Pursuant to Michigan election law, to appear on the official general ballot in
November , sponsors of ballot initiatives are required to file with the Michigan
secretary of State’s office by May 27, 2020, at least three-hundred forty thousand
and forty-seven (440,047) signatures of qualified and registered electors residing
in the state of Michigan. M.C.L. § 168.471 (the “Ballot Initiative Access Statute”).

The enforcement of the Ballot Initiative Access Statute during this national
time of crisis and in light of Governor Whitmer’s Stay-home Order is
unconstitutional. Ballot access laws “place burdens on two different, although
overlapping, kinds of rights - the right of individuals to associate for the
advancement of their political beliefs, and the right of qualified voters,
regardless of their political persuasion, to cast their votes effectively. Both of
these rights, of course, rank among our most precious freedoms.” Williams v. Rhodes,
393 U.S. 23, 30, 89S. Ct. 5, 10 (1968). Indeed, “other rights, even the most basic,
are illusory if the right to vote is undermined.” Wesberry v. Sanders, 376 U.S. 1,
84 S. Ct. 526, 535 (1964). Thus, “when a state promulgates a regulation which
imposes ag ‘severe’ burden on individuals’ rights, that regulation will only be
upheld if it is narrowly drawn to advance a state interest of compelling
importance.” Lawrence v. Blackwell, 430 F.3d 368, 373 (6th Cir. 2005).

Here, although they are no longer doing the sane for candidates, Defendants’
insist on enforcing both the signature requirements and filing deadline prescribed
by the Ballot Initiative Access Statute. At the sane time, however, Defendants have
stripped proponents of ballot initiatives of the ability to meet these requirements

because the Stay-home Order prohibits Michigan electors from leaving their homes for
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.60 Page 14 of 48

non-essential purposes like signature gathering. That Order further requires the
Plaintiffs and all Michigan’s citizens to maintain a distance of six feet from all
other individuals, which effectively eliminates any possibility of electors to
provide their signatures without themselves having violated the Order.

Taken together, the Ballot Initiative Access Statute and the Stay-home Order
impose burdens so severe that they “function as an absolute bar” to SawariMedia
getting their initiative on the November 2020 general ballot. Graveline, 336
F .Supp.3d at 809. There are no alternative means for SawariMedia and its supporters
to get the initiative on the ballot, and voters, including the Plaintiffs and their
supporters, have no alternative means to exercise their vote effectively on a
political issue they wish to vote on.

The Defendants’ enforcenent of these provisions serves only to "freeze the
status quo,” and to deny the electors. of Michigan the ability to make their voices
heard on a political issue they wish to effectuate change. id. at 811. Defendants
cannot reasonably justify these actions under the circumstances. |

Because the combined application of the Ballot Initiative Access Statute and
the Stay-home Order severely burden the Plaintiff’s rights as both the sponsor of
the initiative, and registered voters, Defendants “must set forth precise interests
of comelling importance and show that the regulations are necessary and narrowly
tailored to advance those interests.” Id. at 813. This, Defendants cannot do. There
is no conpelling or legitimate state interest for Defendants’ refusal to apply this
Court’s April 20, 2020, decision in Esshaki v, Whitmer, et al., to ballot
initiatives petitons, or for insisting on enforcing the Ballot Initiative Access
Statute, and Defendants have within their means the ability to suspend or postpone
the Filing Deadline, and/or lower the signature requirements, as they have recently

done for candidates petitions.
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.61 Page 15 of 48

B. Plaintiffs will suffer immediate and irreparable harm
in the absence of relief.

An injury is irreparable if it is not fully compensable in monetary terms. See,
e.g., Uniroyal Goodrich Tire Co. v. Hudson, 856 F. Supp. 348, 356 (E.D. Mich. 1994).
It is well-settled that “[t]he loss of First Amendment’ freedoms, for even minimal
periods of time, unquestionably constitute irreparable injury.” Elrod v. Burns, 427
U.S. 347, 373-74 (1976). “Restrictions on access to the ballot impinge on the
fundarental right to associate for the advancement of political beliefs and the
fundarental right to vote.” Id. | |

By preventing the Plaintiffs access to the ballot, the Ballot Initiative Access
Statute in combination with the Stay-home Order “places burdens on two different,
although overlapping, kinds or rights - the right of individuals to associate for
the advancement of political beliefs and the right of qualified voters, regardless
of their political persuasion, to cast their votes effectively.” Williams v. Rhodes, —
393 U.S. 23, 30, 90 S$. Ct. 5 (1968). Absent relief from this Court, or other
extraordinary measures and great expense, SawariMedia’s initiative will not be
placed on the ballot. This will deprive the Plaintiffs and their supporters of an
effective choice and is burdensome, unreasonable, and is not narrowly tailored to

meet any compelling or legitimote state interest.

C. The balance of equities tips in the Plaintiffs’ favor.

“There are few greater burdens that can be placed on a political [advocacy
coalition] than being denied access to the ballot.” Libertarian Party of Ohio, v.
Blackwell, 462 F.3d 579, 593 (6th Cir. 2006) (internal citations omitted).

Defendants’ refusal to apply this Court’s previous ruling in Esshaki v. Whitmer
et al., and enforcement of the Ballot Initiative Access Statute, in combination with

the Stay-home Order, effectively robs SawariMedia, and those thousands of qualified,
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.62 Page 16 of 48

registered electors who support the initiative, of the opportunity to gain access to
the ballot. Given the magnitude of this burden, Defendants are left searching in
vain to surmise a state interest of compelling enough importance to continue to
‘enforce the Ballot Initiative Access Statute in comparison to the burdens they
impose on the Plaintiffs. This is especially true in light of this Court’s April 20,
2020, Order in Esshaki v. Whitmer, et al., and the extraordinary measures
Defendants’ implemented to combat this global pandemic and their willingness to

aiter existing law to accommodate the local May election and canvassing deadline.

D. An injunction is in the public interest

Enforcement of the Ballot Initiative Access Statute in combination with the
Stay-home Order severely limits the choices available to voters. The Supreme Court
has noted that “by limiting the choices available to voters, the State impairs the
voters’ ability to express their political preferences.” Illinois State Bd. of
Elections v, Socialist Workers Party, 440 U.S. 173, 184, 99 S. Ct. 983, 990 (1979).
Ensuring SawariMedia’s initiative is on the ballot expands the choices available to
voters and is thus in the public interest.

When such rights are at stake, a State must establish that the enforcement of
its Ballot Initiative Access laws are necessary to serve a compelling interest. See
id. Here, Defendants are enforcing an unconstitutional law, which cannot serve as
the basis for a compelling interest of the state. See, e.g., ACLU v Ashcroft, 322
F.3d 240, 251 n.11 (3d Cir. 2003) ("Neither the Government nor the public generally

can claim an interest in the enforcement of an unconstitutional law”).

IV. CONCLUSION
WHEREFORE, Plaintiffs respectfully requests that this Court enter a temporary

restraining order and/or a preliminary injunction against Defendants restraining
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.63 Page 17 of 48

then fron enforcing the Ballot Initiative Access Statute and such other equitable

relief as the Court deems appropriate.

Respectfully Submitted,

SAWARIMEDTA LLC
By: ~

Amani Sawari
Plaintiff, In pro per
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Detroit, MI 48202
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Dated: May 4, 2020

 

Pew /
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al inosi@yahoo.com 989-277-3228 tlc. greenyard@ychoo. com

judykellogg95@gmail.com

CERTIFICATE OF SERVICE

THE UNDERSIGNED certifies that on the 4th day of May, 2020, the foregoing paper
was filed with the Clerk of the Court by placing the same in an envelope with enough
pre-paid first. class postage to be delivered to Clerk of the Court, United States
District Court, Eastern District of Michigan, 231 W. Lafayette Blvd., Detroit, MI
48202, and by placing that envelope in a US postal service collection box in

Detroint, Michigan.

Amani Sawari

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.64 Page 18 of 48

TABLE OF EXHIBITS

Declaration of Amani Sawari, Deborah Parker,

Judy Kellogg and Paul Ely Exhibit A
Stay Hone Order Exhibit B
Secretary of State Website Exhibit C

Photos of mailing campaign and printed petitions Exhibit D
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.65 Page 19 of 48

 
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.66 Page 20 of 48

UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

SAWARIMEDIA LLC, DEBORAH PARKER,
JUDY KELLOGG, and PAUL ELY,

Plaintiffs, Civil Action No.

Vv.

GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan |
Bureau of Elections, in their official
capacities,

Hon.

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Defendants.

DECLARATION OF AMANI SAWARI

1. IT an the owner and manager of SawariMedia LLC.

2, SawariMedia is a coalition of like-minded individuals who work together to
educate and promote their political views in the public arena.

3. On January 16, 2020, on behalf of SawariMedia, and the thousands of
supporters of SawariMedia, I filed a ballot initiative petition with the
Michigan Secretary of State to begin collecting signatures to qualify for
the placement of the initiative on the November 3, 2020, general election
ballot.

4. JI hired campaign staff and have been diligently campaigning since the
summer of 2019. I have purchased a website devoted to the initiative,
hosted several town-hall meetings revolving around the initiative,
conducted multiple training sessions across the state for the canvassers
of the petition, and purchased more than thirty-four thousand (34,000)
copies of the petition.
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.67 Page 21 of 48

mn

10.

11.

12.

Pursuant to Michigan election law, to appear on the November 3, 2020,
general ballot, I, as the sponsor of the initiative, am required to file
with the Michigan Secretary of State’s office by May 27, 2020, three-
hundred forty thousand and forty-seven (340,047) qualified and registered
electors who reside in the state of Michigan. M.C.L. § 168.471.

My compcign team and I implemented a plan to collect the number of
signatures early on in the campaign.

My campaign team and I, along with many volunteers and supporters have
been working diligently, and we have already collected approximately two-
hundred fifteen thousand (215,000) valid signatures.

Collecting signatures is a time-consuming process, which requires close
contact with electors who reside in the state.

On or around March 15, 2020, President Trump rolled out his "15 days to
slow the spread” initiative (the “Initiative”). This Initiative, which was
recently extended, asks people to practice social distancing and to take
other measures to prevent the spread of the novel SARS-CoV-2 virus
("Covid-19").

To comply with this Initiative and to protect Michigan’s citizens, my
campaign team and I postponed many of our efforts to collect signatures.
On March 23, 2020, in response to the unprecedented Covid-19 pandemic,
which has disrupted nearly every aspect of American life, Governor Whitmer
issued Executive Order 2020-21 (the “Stay-home Order” or the “Order”). The
Order went into effect on March 24, 2020, and was recently extended to at
least May 15, 2020.

Based on information and belief, the Order will likely be extended beyond
the May 27 deadline, but more importantly, the social distancing

guidelines will likely be in effect throughout the summer, and possibly
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.68 Page 22 of 48

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into the winter.
Whitmer’s Stay-home Order is to be construed broadly. The Order makes it a

criminal and/or civil infraction for a person to leave their home unless
that person is a worker “necessary to sustain or protect life or to
conduct minimum basic operations” (“Essential Worker”).

The Stay-home Order further requires that Essential Workers who leave
their homes must maintain social distancing standards by remaining at
least six feet away from others.

The Stay-home Order does not create an exception for the sponsor of a
ballot initiative, or those who are working to collect signatures for a
ballot initiative.

On or around March 24, 2020, staff fron the Michigan Secretary of State
informed a member of my staff that there would be no changes to the
existing deadline and/or signature requirement.

On April 15, 2020, another member of my canpaign staff received an email
from the Bureau of Elections that stated ”As of now nothing has changed.
Updates will be posted on our website as www.Michigan.gov/Elections.” The
email came from elections@michigan.gov

The Defendants’ enforcement of the deadline and signature requirement is
inconsistent with the decision issued on April 20, 2020, by the Federal
District Court, in the case of Esshaki v. Whitmer et al. It is also
inconsistent with other actions take by the Secretary of State including
the closing of their offices until the Governor’s Stay-home Order expires,
or is repealed, The Secretary of State has also indicated that it will
conduct local elections in May 2020 through mail ballots, and not in
person. Further, Governor Whitmer postponed the canvassing elections until
April 24, 2020.
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.69. Page 23 of 48

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These extraordinary measures underscore the challenges we face as a state
and a nation during this pandemic. |

Governor Whitmer’s Stay-home Order has made it impossible for ballot
initiative sponsors like me to obtain the required number of elector
signatures by May 27, 2020, the deadline imposed under M.C.L. § 168.471.
The enforcement of that deadline under these unprecedented circumstances,
considering the Stay-home Order, is unconstitutional because it requires
me to obtain signatures by May 27, 2020, and simultaneously strips me of
the ability to meet those requirments.

This effectively prevents me, through no fault of my own, from getting our
initiative on the ballot, and providing the Michigan electors with a
meaningful choice related to a political topic hundreds of thousands of
qualified, registered electors, have already shown their support for.

Over the last several months, I have expended countless hours and other
resources campaigning. The enforcement of the Deadline severely injures me
and, continues to impose severe burdens on me because if it is enforced, I
will not be able to provide the electors of this state with a chance to
vote on an issue hundreds of thousands have already shown they wish to
vote on. I will also have lost a substantial amount of time and money. I
have already spent a substantial amount of money mailing the petitions to
electors who have requested it, but the US Postal Service is running
several weeks behind on the processing of mail in Michigan.

The initiative’s supporters and I will be further injured and will suffer
irreparable harm to our voting, speech, and associational rights because
our initiative will not be on the ballot, and we will not be able to make
our voices heard on an issue we wish to bring about change.

Based on information and belief, there cre several other coalitions in
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.70 Page 24 of 48

Michigan that had previously filed ballot initiative petitions with the
Secretary of State’s office, who are now facing these same obstacles.

26. I declare under the penalty of perjury that the foregoing is true and
correct.

Executed this 4th day of May 2020 by:

 

Amani Sawari
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.71 Page 25 of 48

SAWARIMEDIA LLC, DEBORAH PARKER,
JUBY KELLOGG, and PAUL ELY,

GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan.
Bureau of Elections, in their official
capacities,

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UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Plaintiffs, Civil Action No.
Vv.

Hon.

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Defendants.

DECLARATION OF DEBORAH PARKER
I am a United States citizen, and a registered voter in the state of
Michigan.
I have routinely voted in past primary and general elections.
I have always been an advocate for individuals and organizations coming
together to try and make positive changes in their communities.
In the past I have signed and supported several different ballot
initiative petitions that I believed would have a positive impact on our
county and/or state.
Sometime in March of this year (2020), I became aware of the initiative
sponsored by SawariMedia LLC. After reading the entire petition on-line, I
decided that I wanted to show my support for the initiative by signing the
petition. At that time I located one of the locations near me that was
hosting the petition for people to come in and sign it. I mace plans to
visit the location in the next few days.
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.72 Page 26 of 48

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Prior to me being able to visit the location to sign the petition,
President Trumo issued the social distancing guidelines which prevented
the gatherings of large groups, and recommended that we stay six feet away
from other people.

Just a few days after that, our Governor issued the Stay-Home Stay-Safe

. Order that made it legally impossible for me to leave my home to sign the

petition.

Although I have requested that a copy of the petition be mailed to me, and
have been told by SawariMedia LLC that one was mailed to me several weeks
ago, I have yet to receive it in the mail.

I have a constitutional right to sign a petition that will bring an issue
to the ballot that I want to vote on, but because of the Governor’s Order,
I am not allowed to do so.

My right to peaceably assemble for political reasons, my right to the
freedom of speech, and my right to make my voice heard through a ballot
initiative is being violated by the Governor of Michigan.

I declare under the penalty of perjury that the foregoing statements are

true and correct.

Frecuted this 4th,day of May 2020 by:

Dele iAH

Deborah Parker
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.73 Page 27 of 48

SAWARIMEDIA LLC, DEBORAH PARKER,
JUDY KELLOGG, and PAUL ELY,

GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan |
Bureau of Elections, in their official
capacities,

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UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Plaintiffs, Civil Action No.
Vv.

Hon.

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Defendants.

DECLARATION OF JUDY KELLOGG
I an a United States citizen, and a registered voter in the state of
Michigan.
I have routinely voted in past primary and general elections.
I learned about a petition being circulated by SawariMedia LLC, that I was
told would directly effect me and my family. I then began researching the
petition on the internet.
After reading through the petition, I wanted the opportunity to sign the
petition to show my support, and to be able to hove my signature counted
toward the 340,047 signatures needed to get the issue on the Noverber
baliot.
Using SawariMedia’s website, I located a signing event that was going to
be held at the University of Michigan, and made plans to attend.
Before the event happened, the Coronavirus began to impact our daily
lives. The president ordered social distancing, and then Governor Whitmer
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.74 Page 28 of 48

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Executed_this, 4

issued on Executive Order making it illegal for anyone to leave their
homes for anything but “essential” activities.

That order has prevented me from signing the petition that I want to vote
on in November.

I, by law, have the right to sign an initiative petition that I wish to
see on the state’s general election ballot in November, 2020. That is how
we, the voters, moke our voices heard.

I know that candidates who were collecting signatures to get on the ballot
were given special accommodations due to the current circumstances. We,
the registered voters of Michigan, should be given the same
accommodations.

I believe my First and Fourteenth Amendnent rights are being violated, and
I an being stopped from exercising my most fundamental rights.

I declare under the penalty of perjury that the foregoing staterents are
true and correct.

f May 2020 by:

   
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.75 Page 29 of 48

UNITED STATES DISTRICT COURT
THE EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

SAWARIMEDIA LLC, DEBORAH PARKER,
JUDY KELLOGG, and PAUL ELY,

Plaintiffs, Civil Action No.

V.

GRETCHEN WHITMER, Governor of
Michigan, JOCELYN BENSON, Secretay

of State of Michigan, and JONATHAN
BRATER, Director of the Michigan |
Bureau of Elections, in their official
capacities,

Hon.

eae Mae Saget Mee” Senge age ape” Senge Sree nage Singer? Magee Sema eel

Defendants.

DECLARATION OF PAUL ELY

1. I ana United States citizen, and a registered voter in the state of
Michigan.

2. I have routinely voted in past primary and general elections.

3. Onor about March 15, 2020, a fanily member informed me of a petition that
was being circulated to get an issue on the November ballot that she
thought I would be interested in.

4. I posed the question on FaceBook to see if anyone else knew about it, and
to try and find out where I could read the petition. I was given the
website to the location of the petition by several different people on
social media.

5. After reading the petition, and statistics to support it, I decided that |
wanted to sign it so that I could help get it on the ballot for November,
2020,

6. Prior to me being able to sign the petition, the President of the United
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.76 Page 30 of 48

11.

States, and the Governor of Michigan, issued new rules and regulations
that have now made it impossible for me to do so.

Those rules and regulations have now prohibited me from being able to have
my signature counted toward the goal needed to get the petition on the
ballot.

1 know many other people who are in the same situation as me. These rules
and regulations are going to stop us fron being able to bring an issue to
the ballot that we, as voters, have the right to do.

I believe my First and Fourteenth Amendnent rights are being viclated, and
I am being stopped from exercising my most fundamental rights.

I declare under the penalty of perjury that the foregoing statements are
true and correct.

Executed this Gul Ef 2020 by:

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.77 Page 31 of 48

EXHIBIT B
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.78 Page 32 of 48

Whitmer - Executive Order 2020-2] (COVID-19) Page | of 13

THE OFFICE OF GOVERNOR GRETCHEN WHITMER =
WHITMER / NEWS / EXECUTIVE ORDERS

Executive Order 2020-21 (COVID-19)

EXECUTIVE ORDER
No. 2020-21

Temporary requirement to suspend activities that are not necessary to sustain
or protect life

The novel coronavirus (COVID-1 9) is a respiratory disease that can result in serious
illness or death. It is caused by a new strain of coronavirus not previously identified in
humans and easily spread from person to person. Older adults and those with chronic
heaith conditions are at Particular risk, and there is an increased risk of rapid spread
of COVID-19 among persons in close proximity to one another. There is currently no
approved vaccine or antiviral treatment for this disease,

On March 10, 2020, the Michigan Department of Health and Human Services identified
the first two presumptive-positive cases of COVID-19 in Michigan. On that same day, |
issued Executive Order 2020-4, This order declared a state of emergency across the
State of Michigan under section 1 of article 5 of the Michigan Constitution of 1 963, the
Emergency Management Act, 1976 PA 390, as amended, MCL 30.401-.421, and the

Emergency Powers of the Governor Act of 1945, 1945 PA 302, as amended, MCL
10.31-.33.

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.79 Page 33 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 2 of 13

The Emergency Management Act vests the governor with broad powers and duties to
“cop[e) with dangers to this state or the people of this state presented by a disaster or
emergency,” which the governor may implement th rough “executive orders,
proclamations, and directives having the force and effect of law.” MCL 30,403(1)-(2).
Similarly, the Emergency Powers of the Governor Act of 1945, provides that, after
declaring a state of emergency, “the governor may promulgate reasonable orders,
rules, and regulations as he or she considers necessary to protect life and property or
to bring the emergency situation within the affected area under control.” MCL 10.31(1).

To suppress the spread of COVID-19, to prevent the state’s health care system from
being overwhelmed, to allow time for the production of critical test kits, ventilators,
and personal protective equipment, and to avoid needless deaths, it is reasonable and
necessary to direct residents to remain at home or in their place of residence to the
Maximum extent feasible,

This order takes effect on March 24, 2020 at 12:01 am, and continues through April 13,
2020 at 11:59 pm.

Acting under the Michigan Constitution of 1963 and Michigan law, | order the
following:

1, This order must be construed broadly to prohibit in-person work that is not
necessary to sustain or protect life.

2. Subject to the exceptions in section 7, all individuals currently living within the
State of Michigan are ordered to stay at home or at their place of residence.
Subject to the same exceptions, all public and private gatherings of any number
of people occurring among persons not part of a single household are
prohibited.

https://www.michigan.gov/whitmer/0,9309,7-387-90499 90705-522626--,00. html Page 2 of 13
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.80 Page 34 of 48
Whitmer - Executive Order 2620-21 (COVID-19} Page 3 of 13

3. All individuals who leave their home or place of residence must adhere to social
distancing measures recommended by the Centers for Disease Control and
Prevention, including remaining at least six feet from people from outside the
individual's household to the extent feasible under the circumstances.

4, No person or entity shall operate a business or conduct operations that require
workers to leave their homes or places of residence except to the extent that
those workers are necessary to sustain or protect life or to conduct minimum
basic operations.

a. For purposes of this order, workers who are necessary to sustain or protect
life are defined as “critical infrastructure workers,” as described in sections 8
and 9,

b. For purposes of this order, workers who are necessary to conduct minimum
basic operations are those whose in-person presence is strictly necessary to
allow the business or operation te maintain the value of inventory and
equipment, care for animals, ensure security, process transactions
(including payroll and employee benefits), or facilitate the ability of other
workers to work remotely.

Businesses and operations must determine which of their workers are
necessary to conduct minimum basic operations and inform such workers
of that designation. Businesses and operations must make such
designations in writing, whether by electronic message, public website, or
other appropriate means. Such designations, however, may be made orally
until March 31, 2020 at 11:59 pm.

5. Businesses and operations that employ critical infrastructure workers may
continue in-person operations, Subject to the following conditions:

https://www.michigan.gov/whitmer/0,9309,7-387-90499_ 90705-522626--.00 htint Page 3 of 13
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.81 Page 35 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 4 of 13

a. Consistent with sections 8 and 9, businesses and operations must
determine which of their workers are critical infrastructure workers and
inform such workers of that designation. Businesses and Operations must
make such designations in writing, whether by electronic message, public
website, or other appropriate means. Such designations, however, may be
made orally until March 31, 2020 at 11:59 pm. Businesses and operations
need not designate:

i. Workers in health care and public health.

2. Workers who perform necessary government activities, as described in
section 6, °

3. Workers and volunteers described in section 9{d).

b. in-person activities that are not necessary to sustain or protect life must be
suspended until normal operations resume.

c. Businesses and operations maintaining in-person activities must adopt
social distancing practices and other mitigation measures to protect
workers and patrons. Those practices and measu res include, but are not
limited to:

1. Restricting the number of workers present on premises te no more
than is strictly necessary to perform the business's or operation’s
critical infrastructure functions.

2. Promoting remote work to the fullest extent possible.

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.82 Page 36 of 48
Whitmer - Executive Order 2020-21 (COVID-19) Page 5 of 13

3. Keeping workers and patrons who are on premises at least six feet
from one another to the maximum extent possible, including for
customers who are standing in line.

4. Increasing standards of facility cleaning and disinfection to limit
worker and patron exposure to COVID-19, as well as adopting
protocois to clean and disinfect in the event of a positive COVID-19
case in the workplace.

9. Adopting policies to prevent workers from entering the premises if
they display respiratory symptoms or have had contact with a person
who is known or suspected to have COVID-19.

6. Any other social distancing practices and mitigation measures
recommended by the Centers for Disease Control.

6. All in-person government activities at whatever level (state, cou nty, or local) that
are not necessary to sustain or protect life, or to supporting those businesses
and operations that are necessary to sustain or protect life, are suspended,

a. For purposes of this order, necessary government activities include
activities performed by critical infrastructure workers, including workers in
law enforcement, public safety, and first responders.

b. Such activities also include, but are not limited to, public transit, trash pick-
up and disposal, activities necessary to manage and oversee elections,
operations necessary to enable transactions that support the work of a
business’s or operation's critical infrastructure workers, and the
maintenance of safe and Sanitary public parks so as to allow for outdoor

recreation.
&

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.83 Page 37 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 6 of 13

c. For purposes of this order, necessary government activities include
minimurn basic operations, as described in section 4(b). Workers
performing such activities need not be designated.

d. Any in-person government activities must be performed consistently with
the social distancing practices and other mitigation measures to protect
workers and patrons described in section 5(c).

7. Exceptions.

a. Individuals may leave their home or place of residence, and travel as
necessary:

1.

To engage in outdoor activity, including walking, hiking, running,
cycling, or any other recreational activity consistent with remaining at
least six feet from people from outside the individual's household,

To perform their jobs as critical infrastructure workers after being so
designated by their employers. (Critical infrastructure workers who
need not be designated under section 5(a) may leave their home for
work without a designation.)

To conduct minimum basic operations, as described in section 4{b),
after being designated to perform such work by their employers.

. To perform necessary government activities, as described in section 6.

. To perform tasks that are necessary to their health and safety, or to

the health and safety of their family or household members (includiag

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.84 Page 38 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 7 of 13

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pets). Individuals may, for example, leave the home or place of
residence to secure medication or to seek medical or dental care that
is necessary to address a medical emergency or to preserve the heaith
and safety of a household or family member (including procedures
that, in accordance with a duly implemented nonessential procedures
postponement plan, have not been postponed).

. To obtain necessary services or supplies for themselves, their family or

household members, and their vehicles. /ndividuals Must secure such
services or supplies via delivery to the maximum extent possible. AS
needed, however, individuals may leave the home or place of
residence to purchase groceries, take-out food, gasoline, needed
medical supplies, and any other products necessary to maintain the
safety, sanitation, and basic operation of their residences.

. To care for a family member or a family member's pet in another

household.

To care for minors, dependents, the elderly, persons with disabilities,
or other vulnerable persons.

. To visit an individual under the care of a health care facility, residential

care facility, or congregate care facility, to the extent otherwise
permitted.

To attend legal proceedings or hearings for essential or emergency
purposes as ordered by a court.

To work or volunteer for businesses or operations (including both and
religious and secular nonprofit organizations) that provide food,
shelter, and other necessities of life for economically disadvantaged@r

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.85 Page 39 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 8 of 13

otherwise needy individuals, individuals who need assistance as a
result of this emergency, and people with disabilities.

b. Individuals may also travel:
1. To return to a home or place of residence from outside this state,

2. To leave this state for a home or residence elsewhere,

3. To travel between two residences in this state,

4. As required by law enforcement or a court order, including the
transportation of children pursuant to a custody agreement.

8. For purposes of this order, critical infrastructure workers are those workers
described by the Director of the U.S. Cybersecurity and Infrastructure Security
Agency in his guidance of March 19, 2020 on the COVID-19 response (available
here), Such workers include some workers in each of the following sectors:

a. Health care and public health,
b. Law enforcement, public Safety, and first responders.
c. Food and agriculture.

d. Energy.

&. Water and wastewater.

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.86 Page 40 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 9 of 13

f. Transportation and logistics.

g. Public works.

h. Communications and information technology, including news media.
i. Other community-based government Operations and essential functions,
j. Critical manufacturing.

k, Hazardous materials.
|, Financial services.

m. Chemical supply chains and safety.

n. Defense industrial base.

9. For purposes of this order, critical infrastructure workers also include:

a. Child care workers (including workers at disaster relief child care centers),
but only to the extent necessary to serve the children or dependents of

critical infrastructure workers as defined in this order. This category a

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.87 Page 41 of 48

Whitmer - Executive Order 2020-2] (COVID-19) Page 10 of 13

includes individuals (whether licensed or not) who have arranged to care for
the children or dependents of critical infrastructure workers.

b. Workers at designated suppliers and distribution centers, as described
below,

1. A business or operation that employs critical infrastructure workers
may designate suppliers, distribution centers, or service providers
whose continued operation is necessary to enable, support, or
facilitate the work of its critical infrastructure workers,

2. Such suppliers, distribution centers, or service providers may
designate workers as critical infrastructure workers onlyto the extent
those workers are necessary to enable, support, or facilitate the work
of the original operation's or business's critical infrastructure workers.

3. Designated suppliers, distribution centers, and service providers may
in turn designate additional suppliers, distribution centers, and service
providers whose continued operation is necessary to enable, support,
or facilitate the work of their critical infrastructure workers.

4. Such additional suppliers, distribution centers, and service providers
may designate workers as critical infrastructure workers on/yto the
extent that those workers are necessary to enable, support, or
facilitate the work of the critical infrastructure workers at the supplier,
distribution center, or service provider that has designated them.

5. Businesses, operations, suppliers, distribution centers, and service
providers must make all designations in writing to the entities they are

designating, whether by electronic message, public website, or other
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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.88 Page 42 of 48

“Whitmer - Executive Order 2020-21 (COVID-19) Page 11 of 13

appropriate means. Such designations may be made orally until March
31, 2020 at 11:59 pm.

6. Businesses, operations, suppliers, distribution centers, and service
providers that abuse their designation authority shall be subject to
Sanctions to the fullest extent of the law.

¢. Workers in the insurance industry, but only to the extent that their work

cannot be done by telephone or remotely.

. Workers and volunteers for businesses or operations {including both and

religious and secular nonprofit organizations) that provide food, shelter,
and other necessities of life for economically disadvantaged or otherwise
needy individuals, individuals who need assistance as a result of this
emergency, and people with disabilities.

. Workers who perform critical labor union functions, including those who

administer health and welfare funds and those who monitor the well-being
and safety of union members who are critical infrastructure workers,
provided that any administration or monitoring should be done by
telephone or remotely where possible,

10. Nothing in this order should be taken to supersede another executive order or

11.

directive that is in effect, except to the extent this order imposes more stringent
limitations on in-person work, activities, and interactions. Consistent with prior
guidance, a place of religious worship, when used for religious worship, is not
subject to penalty under section 14,

Nothing in this order should be taken to interfere with or infringe on the powers
of the legislative and judicial branches to perform their constitutional duties or
exercise their authority. “a

https://www.michigan.gov/whitmer/0,9309,7-387-90499_90705-522626--.00.htm| Page 11 of 13
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.89 Page 43 of 48

Whitmer - Executive Order 2020-21 (COVID-19) Page 12 of 13

12,

3.

14,

This order takes effect on March 24, 2020 at 12:01 am, and continues through
April 13, 2020 at 11:59 pm.

The governor will evaluate the continuing need for this order prior to its
expiration, In determining whether to maintain, intensify, or relax its restrictions,
she will consider, among other things, (1) data on COVID-19 infections and the
disease's rate of spread; (2) whether sufficient medical personnel, hospital beds,
and ventilators exist to meet anticipated medical need; (3) the availability of
personal protective equipment for the health-care workforce; (4) the state's
capacity to test for COVID-19 cases and isolate infected people; and (5) economic
conditions in the state.

Consistent with MCL 10.33 and MCL 30,.405(3), a willful violation of this order is a
misdemeanor.

Given under my hand and the Great Seal of the State of Michigan.

RELATED CONTENT

Executive Order 2020-69 (COVID-19)

Executive Order 2020-70 (COVID-19)

Executive Order 2020-65 (COVID-19)

Executive Order 2020-64 (COVID-1 9)

Executive Order 2020-67 (COVID-1 9)

Executive Order 2020-68 (COVID-19)

Executive Order 2020-66 (COVID-19)

https.//www.michigan.gov/whitmer/0,9309,7-387-90499_ 90705-522626--.00. html Page 12 of 13
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.90 Page 44 of 48
Whitmer - Executive Order 2020-21 (COVID-19) Page 13 of 13

Executive Order 2020-61 (COVID-19)
Executive Order 2020-62 (COVID-19)
Executive Order 2020-63 (COVID-1 9)
Executive Order 2020-60 (COVID-19)
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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.91 Page 45 of 48

 
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.92 Page 46 of 48

SOS - When will Secretary of State offices reopen? Page 1 of |

OFFICIAL WEBSITE OF MICHIGAN.GOV
The Office of

Secretary of State jocelyn Benson

SOS

When will Secretary of State offices reopen?

All Secretary of State offices will be closed through the duration of Governor Whitmer’s
Stay Home, Stay Safe Executive Order. Secretary Benson and her administration will
continue to work with Governor Whitmer’s administration to monitor public health
across the state in order to determine when we can reopen branch offices.

Last updated: April 30, 2020

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Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.93 Page 47 of 48

EXHIBIT D
Case 4:20-cv-11246-MFL-MJH ECF No. 2 filed 05/04/20 PagelD.94 Page 48 of 48

 
